                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


JENNIFER A. LANG,

      Plaintiff,                                            Case No. 15-CV-1004

      v.
                                                            HEARING MINUTE SHEET
MILWAUKEE COUNTY, et al.,

      Defendants.



Hon. Nancy Joseph, presiding.

Type of proceeding: MEDIATION/SETTLEMENT CONFERENCE

Date: June 17, 2016

Time Commenced: 9:34 a.m.        Time Concluded: 1:25 p.m.


Appearances:              Plaintiff:   Atty. Peter J. Fox
                                       Jennifer A. Lang


                          Defendant: Atty. Oyvind Wistrom
                                     Atty. Colleen A. Foley
                                     Brian J. Knee

Comments: The mediation did result in the settlement of plaintiff’s claims. The parties anticipate
filing a stipulation of dismissal in approximately 60 days.




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